Case 2:21-cv-01048-WSS Document 1-1 Filed 08/06/21 Page 1 of 13




               EXHIBIT A
     Case 2:21-cv-01048-WSS Document 1-1 Filed 08/06/21 Page 2 of 13




IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA
                         CIVIL DIVISION

NATHAN SCOTT                                 No. AR-21-002740
  Plaintiff
                                             Type of Pleading:
V.
                                              COMPLAINT IN CIVIL ACTION
PORTFOLIO RECOVERY ASSOCIATES, LLC
  Defendant                                  Filed on behalf of Plaintiff,

                                             NATHAN SCOTT

                                             Counsel of Record for this Party:

                                             Mark G. Moynihan
                                             PA ID No. 307622

                                             Moynihan Law PC
                                             2 Chatham Center, Suite 230
                                             Pittsburgh, PA 15219
                                             (412) 889-8535
                                             mark@moynihanlaw.net
        Case 2:21-cv-01048-WSS Document 1-1 Filed 08/06/21 Page 3 of 13




IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA
                         CIVIL DIVISION

 NATHAN SCOTT                                                        Case No. AR-21 -002740
      Plaintiff

 V.

 PORTFOLIO RECOVERY ASSOCIATES, LLC
      Defendant

                                           NOTICE TO DEFEND
You have been sued in court. If you wish to defend against the claims set forth in the following pages,
you must take action within twenty (20) days after this Complaint and Notice are served, by entering a
written appearance personally or by attorney and filing in writing with the court your defenses or
objection to the claims set forth against you. You are warned that if you fail to do so the case may
proceed without you and a judgment may be entered against you by the court without further notice for
any money claimed in the complaint or for any other claim or relief requested by the Plaintiff. You may
lose money or property or other rights important to you.

You should take this paper to your lawyer at once. If you do not have a lawyer, go to or telephone the
office set forth below. This office can provide you with information about hiring a lawyer. If you cannot
afford a lawyer, this office may be able to provide you with information about agencies that may offer
legal services to eligible persons at a reduced fee or no fee.

                      Lawyer Referral Service, The Allegheny County Bar Association
                                       11th Floor Koppers Building
                               436 Seventh Avenue, Pittsburgh, PA 15219
                                       Telephone: (412) 261-5555

                                              HEARING NOTICE
You have been sued in court. The above Notice to Defend explains what you must do to dispute the
claims made against you. If you file the written response referred to in the Notice to Defend, a hearing
before a board of arbitrators will take place in Room 702 of the Allegheny County City-County Building,
7th Floor, 414 Grant Street, Pittsburgh, Pennsylvania, 15219 on
_ _ _ _ _ _ _ _ _ _ _ _ _ _O_c_           to_b_er_Z_0_ _ ,2021    at 9:00 A.M. If you fail to file the
response described in the Notice to Defend, a judgment for the amount claimed in the Complaint may be
entered against you before the hearing.

                         DUTY TO APPEAR AT ARBITRATION HEARING
If one or more of the parties is not present at the hearing, the matter may be heard at the same time and
date before a judge of the court without the absent party or parties. There is no right to a trial de novo on
appeal from a decision entered by a judge.

NOTICE:           You must respond to this complaint within twenty (20) days or a judgment for the
                  amount claimed may be entered against you before the hearing.
                  If one or more of the parties is not present at the hearing, the matter may be heard
                  immediately before a judge without the absent party or parties. There is no right to a trial
                  de novo on appeal from a decision entered by a judge.
      Case 2:21-cv-01048-WSS Document 1-1 Filed 08/06/21 Page 4 of 13




IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA
                         CIVIL DIVISION

 NATHAN SCOTT                                                  No. AR-21 -002740
   Plaintiff

 V.


 PORTFOLIO RECOVERY ASSOCIATES, LLC
   Defendant

                               COMPLAINT IN CIVIL ACTION

         Nathan Scott ("Plaintiff') brings this action against Portfolio Recovery Associates, LLC

("Defendant"), and alleges as follows:

                                  NATURE OF THE ACTION

         1.     This action 1s brought against Defendant for its violations of the Fair Debt

Collection Practices Act ("FDCPA"), 15 U.S.C. §§ 1692 et seq., by making false and misleading

representations and using unfair practices in connection with their debt collection activity.

                                 JURISDICTION AND VENUE

         2.     This Court has subject matter jurisdiction under 42 Pa. C.S. § 931 and 15 U.S.C. §

1692k.

         3.     This Court has personal jurisdiction over Defendant under 42 Pa. C.S. § 5301 .

         4.     Venue is proper under Pa. R. Civ. P. 2179 because Defendant regularly conducts

business in this county and this is the county where the cause of action arose.

                                            PARTIES

         5.     Plaintiff is a natural person who resides in Allegheny County, Pennsylvania.

         6.     Defendant is a business entity with its principal place of business in Norfolk,

Virginia.

         7.     Defendant purchases defaulted consumer debt to collect for profit.
      Case 2:21-cv-01048-WSS Document 1-1 Filed 08/06/21 Page 5 of 13




        8.     Defendant purchases defaulted consumer debt for pennies on the dollar.

       9.      Defendant collects the debt they purchase, either directly or indirectly, by calling

consumers, sending letters to consumers, and filing lawsuits against consumers.

        10.    Defendant uses instrumentalities of interstate commerce, such as telephone, mail,

and the internet, to collect the debt they purchase.

                                  FACTUAL ALLEGATIONS

        11.    On January 21, 2020, Defendant filed a collection complaint against Plaintiff in the

Magisterial District Courts of Allegheny County, Pennsylvania.

        12.     Defendant claimed it was assigned a debt that was owed by Plaintiff (the "Debt").

        13.    On March 4, 2020, Plaintiff received a judgment in his favor and against Defendant.

        14.    Defendant did not appeal the decision entered in the Magisterial District Court.

        15.     Several months later Plaintiff obtained his credit reports from TransUnion,

Experian, and Equifax, all dated July 1, 2020.

        16.    Despite knowing that Plaintiff owed nothing to Defendant on the Debt, Defendant

falsely reported the Debt to TransUnion with a balance due of $1 ,327 on June 27, 2020 in an

attempt to collect the Debt.

        17.    Despite knowing that Plaintiff owed nothing to Defendant on the Debt, Defendant

falsely reported the Debt to Experian with a balance due of $1 ,327 on June 27, 2020 in an attempt

to collect the Debt.

        18.    Despite knowing that Plaintiff owed nothing to Defendant on the Debt, Defendant

falsely reported the Debt to Equifax with a balance due of $1,327 on June 27, 2020 in an attempt

to collect the Debt.
      Case 2:21-cv-01048-WSS Document 1-1 Filed 08/06/21 Page 6 of 13




       19.     Defendant intentionally and/or negligently reported false information to

TransUnion, Experian, and Equifax about the Debt by reporting that a balance was due to

Defendant, when a Court had determined that it was not.

       20.     As a result of Defendant's actions, Plaintiff suffered a reduced credit rating and

false information about him was disseminated to credit reporting agencies.

                                               COUNTI
                          Violation of the Fair Debt Collection Practices Act
                                        15 U.S.C. §§ 1692 et seq.

       21.     Plaintiff repeats and re-alleges all prior allegations as if set forth at length herein.

       22.     Plaintiff is a consumer under the FDCPA, the Debt is a debt under the FDCP A, and

Defendant is a debt collector under the FDCPA. 15 U.S.C. §§ 1692a(3), (5), (6).

       23 .    Defendant's actions and practices described herein constitute as: false, deceptive or

misleading representations or means in connection with the collection of a debt, in violation of 15

U.S.C. § 1692e; and/or unfair or unconscionable means to collect or attempt to collect a debt, in

violation of 15 U.S.C. § 1692f.

       24.     As a result of Defendant' s failure to comply with the provisions of the FDCPA, and

the resulting injury and harm Defendant' s failures caused, Plaintiff is entitled to actual damages,

statutory damages and attorney 's fees and costs under 15 U.S.C. § 1692k.
         Case 2:21-cv-01048-WSS Document 1-1 Filed 08/06/21 Page 7 of 13




                                      PRAYER FOR RELIEF

         WHEREFORE, Plaintiff prays for the following relief, within the arbitration limits of this

court:

            a. An order awarding actual, statutory, and all other damages available
               by law, along with pre-and post-judgment interest;

            b. An order awarding attorney's fees and costs;

            c. An order declaring Defendants' conduct unlawful; and

            d. An order awarding all other and further relief as the Court deems
               just and proper.
                                      JURY DEMAND

         Plaintiff demands trial by jury as to all issues so triable upon appeal or removal.

                                                       Respectfully submitted,

                                                       MOYNIHAN LAW, PC

Dated: June 25 , 2021                           By     Isl Mark G. Moynihan
                                                       Mark G. Moynihan

                                                       Counsel for Plaintiff
      Case 2:21-cv-01048-WSS Document 1-1 Filed 08/06/21 Page 8 of 13




                                         VERIFICATION



       I, NATHAN SCOTT, Plaintiff herein, hereby depose and say subject to the penalties of

18 Pa.C.S. § 4904 relating to unswom falsification to authorities that the facts set forth in the

foregoing Complaint are true and correct to the best of my knowledge, information and belief.

                                                      /s/ Nathan Scott
                                                      NATHAN SCOTT
Case 2:21-cv-01048-WSS Document 1-1 Filed 08/06/21 Page 9 of 13
Case 2:21-cv-01048-WSS Document 1-1 Filed 08/06/21 Page 10 of 13
Case 2:21-cv-01048-WSS Document 1-1 Filed 08/06/21 Page 11 of 13
Case 2:21-cv-01048-WSS Document 1-1 Filed 08/06/21 Page 12 of 13
Case 2:21-cv-01048-WSS Document 1-1 Filed 08/06/21 Page 13 of 13
